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8                          UNITED STATES DISTRICT COURT

9                         EASTERN DISTRICT OF CALIFORNIA

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12   HARRISON ORR, individually,              No. 2:14-cv-585 WBS EFB
13                  Plaintiff,

14         v.                                 ORDER RE: ATTORNEY’S FEES AND
                                              EXPENSES AFTER SECOND REMAND
15   CALIFORNIA HIGHWAY PATROL, a
     public entity; STATE OF
16   CALIFORNIA, a public entity;
     CALIFORNIA HIGHWAY PATROL
17   OFFICERS BRAME, PLUMB, and DOES
     1-10 individually,
18
                    Defendants.
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21                                 ----oo0oo----
22               On February 21, 2020, this court awarded plaintiff
23   $570,925.43 in attorney’s fees and expenses.         (Docket No. 265.)
24   In that order, the court also held that plaintiff was entitled to
25   attorney’s fees for work performed after the Ninth Circuit’s
26   second remand of this case, with the amount of fees to be
27   calculated by the court after receipt of proper documentation of
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1    those fees.    Plaintiff has now requested $20,864.00 in attorney’s

2    fees for work performed after the second remand.          Plaintiff also

3    requests post-judgment interest at a rate of 0.5% day, accruing

4    from November 16, 2015, and requests a 5% enhancement for fees

5    incurred before and at trial, which the court awarded previously

6    but which was omitted in the court’s February 21, 2020 order.1

7    In light of the parties’ briefing, the court orders as follows:

8                (1) Plaintiff is entitled to the 5% lodestar

9    enhancement due to the contingent nature of this case, for the

10   reasons discussed in the court’s prior orders.          (Docket No. 203

11   at 27-29; Docket No. 250 at 3 n.3.)        The court inadvertently

12   omitted this enhancement from its February 21, 2020 order after

13   previously finding such enhancement was appropriate in its first

14   two fee orders.     Taking the $423,575.00 lodestar amount

15   determined in the court’s February 21, 2020 Order, plaintiff is

16   entitled to an additional $21,178.75 as a 5% enhancement to the

17   lodestar.

18               (2) Plaintiff is entitled to fees on the second remand

19   for Michael J. Haddad’s 17.7 hours of work, Teresa Allen’s 2.0

20   hours, and Richard M. Pearl’s 14.1 hours, for the reasons
21   discussed by plaintiff in his motion and given defendant’s lack

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23         1   Defendant does not object to the number of hours billed
     by plaintiff’s counsel for work after the second remand, and does
24   not oppose the requested post-judgment rate of 0.5% or the
     accrual date of November 16, 2015. Defendant does object,
25   however, to the rates requested by plaintiff and awarding a 5%
26   enhancement, though his objection to the 5% enhancement is that
     plaintiff should have sought reconsideration of the February 21,
27   2020 order, and that this motion for post-remand fees is not the
     proper vehicle for such request.
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1    of opposition to such request.

2                (3) Plaintiff is entitled to fees on the second remand

3    at a rate of $580 per hour for Michael J. Haddad, a rate of $380

4    per hour for Teresa Allen, and a rate of $580 per hour for

5    Richard M. Pearl.     The court declines to increase the hourly

6    rates from its prior order by 4%, as requested by plaintiff,

7    finding those requested rates not supported the awards in other

8    civil rights cases in the Eastern District of California.

9    Indeed, the court views the rates of $380 an hour and $580 an

10   hour as unprecedented in this district and overly generous but

11   has reluctantly awarded them for the reasons discussed by the

12   court in its February 21, 2020 order.2        Taking these rates and

13   the agreed number of hours billed by plaintiff’s counsel,

14   plaintiff is entitled to $19,204 for fees for work after the

15   second remand.

16               (4) Plaintiff is entitled to 0.5% post-judgment

17   interest, accruing as of November 16, 2015, given the agreement

18   of the parties and for the reasons discussed by plaintiff in his

19   motion.

20         2   As the court discussed previously, although the court
     has endeavored to provide the requisite concise and clear
21   explanation for its fee awards, the Ninth Circuit’s serial
22   rejection of fees award awards in this case has left the court
     unable to articulate any reason for the rates and number of hours
23   for appropriate fees other than to simply rely on plaintiff’s
     briefing and declarations. The court has done so in this order,
24   as it did in recalculating fees after the second remand, though
     it holds the line at granting any further rate increase. (See
25   Docket No. 265.) Once again, this order should not be cited for
26   the proposition that the rates allowed here are reasonable rates
     to compensate attorneys representing prevailing plaintiffs in
27   other civil rights cases. (See Docket No. 265 at 5 n.1.)
     “Rather, the result here is the product of the peculiar
28   circumstances of this case.” (Id.)
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1                IT IS SO ORDERED.

2    Dated:   July 6, 2020

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